                              No. 25-8018

           United States Court of Appeals
                                       for the

                            Third Circuit
 THOMSON REUTERS ENTERPRISE CENTRE GMBH and WEST PUBLISHING
                      CORPORATION,
                                                                        Appellees,

                                         vs.

                          ROSS INTELLIGENCE INC.
                                                                        Appellants.

      ON APPEAL BY PERMISSION FROM AN ORDER OF THE UNITED
       STATES DISTRICT COURT FOR THE DISTRICT OF DELAWARE
                      CIVIL ACTION NO. 20-613
       (THE HONORABLE STEPHANOS BIBAS, U.S. DISTRICT JUDGE)

             BRIEF FOR AMICI CURIAE IN SUPPORT OF
      APPELLANT/DEFENDANT’S PETITION FOR CERTIFICATION
                        UNDER § 1292(b)


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      No party or party’s counsel authored this brief in whole or in part or

contributed money that was intended to fund preparing or submitting the brief. No

person other than amici and its counsel contributed money that was intended to fund

preparing or submitting the brief. See Fed. R. App. P. 29(a)(4)(E).
                        INTEREST OF AMICI CURIAE

      Brian L. Frye is the Spears-Gilbert Professor of Law at the University of

Kentucky Rosenberg College of Law. As a copyright scholar, Professor Frye is

interested in the scope and limits of United States copyright law. He is concerned

with ensuring that courts determine whether training an AI model infringes the

copyright in its training data by considering an AI model trained on copyrightable

subject matter. Accordingly, he believes it will be helpful to inform the court about

the scope of copyrightable subject matter.

                         PRELIMINARY STATEMENT

      While AI models present many difficult and important copyright questions,

the most difficult and important question is existential: Does training an AI model

on copyrighted works infringe the copyright in those works? Many federal courts

are currently asking that question.1 But this is the wrong case to answer it, because

the plaintiff’s allegedly infringed works aren’t copyrightable.

      The United States District Court for the District of Delaware found that at

least some of Appellee’s (“West’s”) individual headnotes are copyrightable and that

training an AI model on copyrighted works is infringing. The District Court was



1
    See generally Edward Lee, ChatGPT is Eating the World, at
https://chatgptiseatingtheworld.com/ (last visited Apr. 21, 2025) (reporting on the
many lawsuits filed against AI companies alleging copyright infringement, among
other things).


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wrong. West’s individual headnotes aren’t copyrightable. So the District Court

shouldn’t have answered the second question, because there was no need. If West’s

individual headnotes aren’t copyrightable, then using them can’t be infringing, and

fair use is immaterial.

      This court should grant ROSS’s petition for interlocutory review because it

will enable this court to avoid asking a hard question by answering an easy one. The

District Court found that at least some of West’s individual headnotes are protected

by copyright and that training an AI model on copyrighted works is infringing. But

it should have dismissed West’s complaint for failure to state a claim, because none

of West’s individual headnotes are copyrightable.

      This case is conceptually complex, but factually simple. Appellee (“Thomson

Reuters”) owns West, which publishes Westlaw, a popular legal research tool.

Westlaw is based on the West Key Number System, which uses more than 28 million

headnotes to categorize the legal issues addressed in more than 14 million judicial

opinions. ROSS used about 25,000 of West’s headnotes to train an AI model and

create an AI legal research tool. West alleges that ROSS infringed the copyright in

its headnotes by using them to train an AI model. ROSS replies that West’s

headnotes aren’t protected by copyright and that training an AI model on

copyrighted works is a non-infringing fair use.

      Essentially, this case presents two questions:



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          1. Are any of West’s individual headnotes copyrightable?; and,
          2. If any of West’s individual headnotes are copyrightable, did
             ROSS infringe the copyright in those headnotes by using them to
             train its AI model?
      In order for West to win, the answer to both questions has to be yes. But West

can’t win, because the answer to the first question is no. Copyright requires

originality, and West’s individual headnotes aren’t original. On the contrary, they

are factual claims about judicial opinions expressed in functional, short phrases

summarizing those opinions. Or to put it another way, West’s headnotes are copies

of the opinions they describe, intentionally devoid of creativity.




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                                   ARGUMENT

      This court should grant interlocutory review because the District Court

wrongly decided a controlling question of law: Whether West’s headnotes are

copyrightable. West alleges that ROSS infringed the copyrights in its headnotes by

using them to train its AI model. West cannot win unless its headnotes are

copyrightable. The District Court found that at least some of West’s headnotes are

copyrightable. But it was wrong. None of West’s headnotes are copyrightable

because none of them include any original content. All of West’s headnotes are brief

statements of fact, intended to be the best summary of a point of law.

      Copyright requires originality. But West’s headnotes aren’t original. On the

contrary, they are factual claims about the content of judicial opinions, expressed in

functional, short phrases. In other words, West’s headnotes are merely copies of the

opinions they describe, intentionally devoid of creativity. Accordingly, they cannot

be protected by copyright. And if West’s headnotes are uncopyrightable, then using

them to train an AI model can’t be infringing.

I.    WEST’S HEADNOTES AREN’T COPYRIGHTABLE
      The District Court wrongly found that at least some of West’s headnotes are

copyrightable, because they aren’t literally identical to the judicial opinions they

describe. The District Court was mistaken, because West’s headnotes utterly lack

originality, and are intended to lack originality. The purpose of West’s headnotes is

not to be independently created works of authorship with a creative spark. The

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purpose of West’s headnotes is to be accurate factual statements about judicial

opinions. West’s headnotes simply aren’t the kind of thing that copyright can or does

protect.

      A.     West’s Headnotes Aren’t Original

      Copyright can only protect original works of authorship. “The sine qua non

of copyright is originality. To qualify for copyright protection, a work must be

original to the author.” Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345

(1991) (citing Harper & Row, Publishers, Inc. v. Nation Enters., 471 U.S. 539, 547–

49 (1985)). A work or element of a work is original and protected by copyright if

and only if it was “independently created” by the author of the work and reflects at

least some degree of “creativity.” Feist, 499 U.S. at 345 (“Original, as the term is

used in copyright, means only that the work was independently created by the author

(as opposed to copied from other works), and that it possesses at least some minimal

degree of creativity.”) (citing Melville B. Nimmer & David Nimmer, Nimmer on

Copyright §§ 2.01[A], [B] (1990)).

      Of course, originality is a low bar. A work is independently created so long as

it isn’t a copy of an existing work, and originality requires only a “modicum” of

creativity. Feist, 499 U.S. at 345–46 (“To be sure, the requisite level of creativity is

extremely low; even a slight amount will suffice. The vast majority of works make

the grade quite easily, as they possess some creative spark, ‘no matter how crude,



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humble or obvious’ it might be.”) (quoting Melville B. Nimmer & David Nimmer,

Nimmer on Copyright § 1.08[C][1]). While copyright can’t protect a white pages

telephone directory, it can protect just about anything else, including a yellow pages

telephone directory. But that doesn’t help West, because its headnotes are copies of

the judicial opinions they describe and are intentionally devoid of creativity.

Accordingly, copyright does not and cannot protect West’s headnotes.

       B.    West’s Headnotes Are Uncopyrightable Facts

       Copyright cannot protect facts. “That there can be no valid copyright in facts

is universally understood. The most fundamental axiom of copyright law is that ‘[n]o

author may copyright his ideas or the facts he narrates.’” Feist, 499 U.S. at 344–45

(quoting Harper & Row, 471 U. S. at 556).

       The reason that copyright cannot protect facts is because facts are not

independently created by an author and therefore cannot be original. “This is because

facts do not owe their origin to an act of authorship. The distinction is one between

creation and discovery: the first person to find and report a particular fact has not

created the fact; he or she has merely discovered its existence.” Feist, 499 U.S. at

347.

       In Feist, both parties agreed that copyright could not protect Rural’s

individual white pages telephone listings, because they were facts, and disagreed

only about whether copyright could protect Rural’s white pages telephone directory



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as a compilation of facts. Feist, 499 U.S. at 345 (“Rural wisely concedes this point,

noting in its brief that ‘[f]acts and discoveries, of course, are not themselves subject

to copyright protection.’”). According to the Supreme Court, Rural’s white pages

telephone listings were facts because they were copies of the name, address, and

telephone number of the customer they described. Feist, 499 U.S. at 347 (“Census

takers, for example, do not ‘create’ the population figures that emerge from their

efforts; in a sense, they copy these figures from the world around them.”).

      West’s headnotes are also facts, because they are copies of the judicial

opinions they describe. Many of West’s headnotes are literal copies of the judicial

opinions they describe, consisting of a quotation from the opinion. And while some

of West’s headnotes are not literal copies of the opinions they describe, they are still

paraphrases of those opinions, intended to state a fact about the content of that

opinion. The purpose of West’s headnotes is to be accurate, not to be original.

Indeed, if a West headnote were original, it would be defective. A West headnote is

not supposed to be independently created, it is supposed to be copied from the

judicial opinion it describes. And a West headnote certainly isn’t supposed to be

creative, because any creativity would defeat its purpose. See Southco, Inc. v.

Kanebridge Corp., 390 F.3d 276, 282 (3d Cir. 2004) (en banc) (Alito, J.) (“Indeed,

if any creativity were allowed to creep into the numbering process, the system would

be defeated.”)



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      C.     West’s Headnotes Are Uncopyrightable Short Phrases

      It is well-established that copyright cannot protect “short phrases.” Southco,

390 F.3d at 285. The Copyright Office has always refused to register short phrases.

Id. And this Court has always deferred to the Copyright Office’s conclusion that

copyright does not protect short phrases. Id. at 286 (“We believe that the Copyright

Office's longstanding practice of denying registration to short phrases merits

deference.”).

      West’s headnotes are paradigmatic short phrases that copyright cannot

protect. Each West headnote consists of a single sentence describing a single point

of law in a judicial opinion. The content of a West headnote is dictated by the content

of the judicial opinion it describes. Extending copyright protection to West’s

headnotes would prevent others from creating their own headnotes describing the

same opinions or points of law. Copyright does not, should not, and cannot protect

short phrases like West’s headnotes.

      D.     West’s Headnotes Are Purely Functional

      Copyright cannot protect the functional elements of a work of authorship. See,

e.g., Perris v. Hexamer, 99 U.S. 674 (1879) and Baker v. Selden, 101 U.S. 99 (1879).

The Copyright Act provides that copyright cannot protect the functional elements of

a literary work. 17 U.S.C. § 102(b) (“In no case does copyright protection for an

original work of authorship extend to any idea, procedure, process, system, method



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of operation, concept, principle, or discovery[.]”). As the Supreme Court has

explained, “copyrights protect ‘expression’ but not the ‘ideas’ that lie behind it.”

Google LLC v. Oracle Am., Inc., 593 U.S. 1, 18 (2021).

      Accordingly, copyright cannot protect West’s headnotes, because they “are

purely functional.” Southco, 390 F.3d at 284. West’s headnotes merely “convey

information about a few objective characteristics” of the judicial opinions they

describe and “are produced mechanically using a system with fixed rules.” Id. at

284. In other words, West’s headnotes are precisely the kind of functional elements

that copyright does not and cannot protect.




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II.   THE DISTRICT COURT’S RELIANCE ON FEIST IS MISPLACED
      The District Court relies primarily on the Supreme Court’s opinion in Feist v.

Rural to hold that copyright can protect at least some of West’s headnotes. See

Thomson Reuters Enter. Ctr. GMBH v. Ross Intel. Inc., No. 1:20-CV-613-SB, 2025

WL 458520, at *3 (D. Del. Feb. 11, 2025). But the Court’s reliance on Feist is

misplaced, because the logic of Feist actually cuts the other way. In Feist, the

Supreme Court held that copyright can’t protect the individual elements of a

compilation of facts, but can protect the compilation as a whole, if it reflects

sufficient creativity. Feist, 499 U.S. at 358 (“Facts are never original, so the

compilation author can claim originality, if at all, only in the way the facts are

presented.”). The District Court inverts Feist, however, by holding that because

copyright protects the West Key Number System as a compilation, copyright also

protects the constituent elements of that compilation. That doesn’t follow.

      The District Court in this case relied on Feist to hold that West’s headnotes

are copyrightable, because they have “enough ‘creative spark’ to be original.”

Thomson Reuters, 2025 WL 458520, at *3. As explained above, the District Court

was wrong. West’s headnotes are factual statements about the content of judicial

opinions that by design lack any creativity whatsoever.




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      Once upon a time, Michelangelo supposedly humblebragged, “I saw the angel

in the marble and carved until I set him free.”2 The District Court likens West’s

editors to Michelangelo, finding that they carve headnotes from the raw stone of

judicial opinions. But Reader’s Digest is a better analogy, because West is in the

business of condensing judicial opinions for the benefit of busy lawyers.

      While it is true that Thomson Reuters owns a copyright registration for the

West Key Number System, that registration says nothing about whether West’s

headnotes are individually copyrightable. And they are not. As the District Court

observes, West’s headnotes “are a compilation,” and “‘[f]actual compilations’ are

original if the compiler makes ‘choices as to selection and arrangement’ using ‘a

minimal degree of creativity.’” Thomson Reuters, 2025 WL 458520, at *3. But the

originality and copyrightability of a compilation in no way implies the originality

and copyrightability of its parts.

      This court has been here before. In Southco, the plaintiff created a parts

numbering system and claimed copyright infringement of its individual parts

numbers. 390 F.3d at 279. But this Court found that the parts numbers were not

copyrightable. Id. at 281.




2
 Famous Quotes by Michelangelo, at https://www.michelangelo.org/michelangelo-
quotes.jsp#:~:text=I%20saw%20the%20angel%20in,%2D%20Michelangelo (last
visited Apr. 21, 2025).


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      This case is essentially the same as Southco. Thomson Reuters owns a

copyright registration in the West Key Number System, but it wants to claim

copyright infringement of West’s headnotes. The originality and copyrightability of

the system does not imply or even suggest the originality or copyrightability of its

parts. While the Copyright Office registered the West Key Number System, it has

never independently registered any of West’s headnotes. And it would never

independently register West’s headnotes, because they are uncopyrightable short

phrases.




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                                 CONCLUSION

      In the near future, the federal courts will have to answer the hard question of

whether using copyrighted works to train an AI model infringes the copyright in

those works. But this is the wrong case to answer that question, because West’s

headnotes aren’t copyrightable works. Accordingly, this court should grant

interlocutory review and reverse the District Court’s finding of copyright

infringement, or at the very least, instruct the District Court to reconsider the

copyrightability of West’s headnotes.

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                                    CERTIFICATIONS

         I, Samuel L. Closic, counsel for Amici Curae, certify as follows:

             1. Pursuant to L.A.R. 28.3(d) I am a member in good standing admitted

                to the bar of the Court of Appeals for the Third Circuit.3

             2. This brief complies with the word count limitations of Rule 29(a)(5) as

                it contains 2,494 words.

             3. The text of the electronic motion is identical to the text of the paper

                copies.

             4. A Windows virus scan has been conducted on this brief before filing

                and no virus was detected.

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3
    I was admitted to the bar of the Court of Appeals for the Third Circuit on April 17, 2025.
